Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 1 of 54

 

 

Page 1

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

WANDA GRIGSBY,

PLAINTIFF,
VS. NO. 4:19-cv-00778-LPR

PULASKI COUNTY SPECIAL SCHOOL DISTRICT,

DEFENDANT.

DEPOSITION |
OF

WANDA GRIGSBY

 

FRIDAY, FEBRUARY 19, 2021

PLAINTIFF’S
EXHIBIT

eyes

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 2 of 54

 

 

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Page 11

A I graduated from Hall High, 1985.

QO And I asked about your relatives in the, you
know, the Eastern District, which is several counties
Surrounding Pulaski, and you have listed these four

relatives. We need to add Kyler to the list, as well;

correct?

A Yes, sir. I had them listed as daughter and son
on that. So, yes, sir. Yes.

QO No, I'm not saying you did anything wrong.

By Okay.

Q I'm just making sure, for my records.

A All right.

QO So, Gwen, who lives with you, is your sister.

And who is Mr. Gregory Lewis?

A My brother.

QO Your maiden name is Lewis?
A Yes.
Q And this is Malika Austin?
A Yes,

MR. PORTER: Malika.
THE WITNESS: Malika, yes.

BY MR. KEES:

9 And what is your relation to her?
A She's my sister.
0 Sister?

 

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 3 of 54

 

 

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Q And you went to UALR and graduated in '90 with a
Bachelors degree in criminal justice?
A Yes.
Q And then, you obtained some type of license

through the Academy of Private Investigations and

Protection -- Professional Inspection Services?
A Yes.
Q Where is that academy?

A At that particular time, I don't know if they are
still located there, but they were off of Market
street in Little Rock.

QO What do you get when -- what kind of license do
they provide?

A Private investigators license. Basically, you
get the certification, you get the hours, the
education to go -- to move forward to the State Police
to take the exam.

0 So, you are -- at least in May of 2002, you were

a licensed private eye?

A Yes. I received my license, yes.

QO And do you still have that license?

A Ide not currently,

0 Okay.

A I didn't pay to have it -- I haven't had it
renewed.

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 4 of 54

 

 

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no longer have that inspections license. That was

with the Department of Human Services and with Code

Enforcement. So, I no longer have that.
Q What is that inspection license?
A That inspection license gave me the right to

going into jails and all, making sure that the jails
were facilitated for juveniles, that you were not
holding juveniles along with adults in adult
facilities.

Q Okay. And DHS provided that license?

A Yes, sir.

Q So, you have an interest in criminal justice, I
presume?

A I did, yes, sir.

Q Okay. And has that just always been an interest

that you have had?

A Yes.

O Arid you. came to work for the district, was it
2012, I believe?

A Yes, I believe that's correct. Yes, sir.

Q Give me kind of a summary of your work history
from '90 when you graduated UALR up until 2012 with
the district.

A Okay.

Q And I don't need perfection, I just kind of want

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 5 of 54

 

 

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Page 18

MR. KEES: It's 16 pages. And it has --
well, it has the IRS documents attached.

MR. PORTER: Okay.

MR. KEES: And that is an IRS and H&R
Block.

THE WITNESS: Okay.

MR. KEES: Yes. And there is your
Signature.

MR. PORTER: Yes.

THE WITNESS: We did the resume.

MR. KEES: Well, it just didn't -- it's
no big deal.

MR. PORTER: Let me see something, Cody,
a second. I'm sorry. I don't know if I have
one that is in this stuff here. All right.
That's my fault. I don't know what happened.
I thought we got that to you. Okay. I
apologize about that.

MR. KEES: No, you are fine. Yes, if

you don't mind, send me one.

BY MR. KEES:

Let me ask you about your Workers Comp claim.
Let's talk about the 2017 claim that you listed. And
I understand this is where a physical therapy dummy

injuring your right arm and shoulder?

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 6 of 54

 

 

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problems with my arm. And I didn't have any other way
of getting help for it. So, I filed for that then.

QO Did Mr. White represent you?

A No. I started with -- I think it was Buckalew.

I think that was the attorney's name.

Q So, the May 2017, did you ever miss work?

‘A Yes, I did.

QO And when do you think your surgery was?

A It was -- I had the accident, I think, in May or

June. My surgery was November of that year.

Q Of '17?

A Yes.

QO So, were you off work that entire time, from the
injury to the surgery?

A No, I was not.

QO Okay. And then, you had the surgery. At that
point, was it a contested claim or accepted claim when
you had the injury?

A It was an accepted claim, I believe it was.

Q Okay. So, they paid the surgery, the Workers
Comp insurance?

A Yes, yes.

O And then, after that. surgery, in roughly November
of '1l7, something caused you, then, to need to file a

claim?

 

22e95b38-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 7 of 54

 

 

Page 23

1 right here, this January 15th of 2020?

2 A Yes,

3 0 Okay. All right. So, last date of service,

4 January 15, 2020. That's your signature right -- do
o you see my mouse?

6 A Yes, I do.

if Q I think there is a way for me to annotate this.
8 That's not really what I was wanting to do. But you
9 can see it there. That's your signature?
10 A Yes.

11 Q Okay. And then, it says, "Disability required
dit due to ongoing Workers' Compensation claim"?

13 A Yes, sir.

14 QO And I'm assuming that was related to the right
15 arm and shoulder injury and inability to continue the
16 Job?

Lf A Yes.

18 O Are you currently receiving disability? Not

19 Workers Comp, but actual disability of some sort?

20 A Long-term is what I'm receiving.

21 O Long-term?

we A Up under the district, I guess, or private, yes.
23 Q You are saying like your AFLAC insurance program

24 that you had through the district?

25 A Yes. It's whatever that insurance is with then.

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 8 of 54

 

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Page 38
A Yes.
Q So, let's go back, and just the grievance issue
through the PCSSD --
A Right.
QO -- did that come to a resolution?
A Eventually, it did. The disconnect that I had,
Bennie Bowers was still there. I did not feel safe,
because even going to Mr. Brewer at that time, he was
-- I was still having to be in the same office with
him at that time. And that's why I went on forward

with the EEOC.

© Okay.
A Okay?
QO Yes. And then, the EEOC went to mediation, and

ultimately it was resolved by way of an agreement?

A Yes, sir. And in that time frame, they did get
rid of Bennie Bowers.

QO Okay.

A They did have him resign.

Q And how did you feel about that?

A I felt better that he had resigned, but I did not
feel better in the aspects of Dave Thomas being there.
Because they were best buddies, and I knew that that
was going to -- you know, that was another thing

there.

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 9 of 54

 

 

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Page 39
O Yes. And we will get to that.
A All right.
Q Let me make sure -- let me make sure our time
line is -- so, you are hired in August of 2012;
correct?
A Yes, Sir, if that's what it is.
Q And what's your position when you were hired?
A I went from a security officer to a training
officer to an administrative sergeant.
Oo So, you start as a, what, training -- what did
you start at?
A When I first was hired on at PCSSD, I was a

security officer.

QO And that's an individual that patrols buildings

and campuses?

A In the schools, correct.

Q All right. And what's your next lateral move?
A Training officer.

Q And what is the difference?

A Training officer, I did all the training for the

district, such as active shooter. I did ovaining such
as -- when I got hurt, I did the PT training of it,
Physical training. I did seminar training. Anything
dealing with the students' safety. Those were in my

job duties.

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 10 of 54

 

 

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QO As a training officer, do you still perform
security officer duties when not training?
A Basically, I supervised them, is what I did.
QO Okay.
A Okay.
QO So, as a training officer, you provided training,

but you also become a supervisor to other security

officers?
A That is correct, yes.
Q Okay. So, in the hierarchy, is the security

officer the entry position in the Security Department?

A Yess

QO And is the next position a training officer?

A Yes. I would say you could say that.

Q Okay. Are you having trouble hearing me? I know

you lean close every time I talk.

A Yeah. It's kind of muffled. It will be clear
and then it's kind of muffled.

QO What about now, is that better?

A That's better.

Q Okay. I will do my head set.

A All right.

QO So, training officer. And then, what was your
next move after training officer?

A Administrative sergeant.

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 11 of 54

 

 

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Page 41

Q All right. And is that the next -- I know that
was your next move. But in the hierarchy, is that
right above a training officer?

A Well, actually, no. It was actually a step
below. The training officer would have been higher
than an administrative sergeant. During that time
frame, what occurred was, they did some Salary cuts.
And so, what happened was, I got kicked down from a
training officer at $70,000.00 to an administrative
sergeant at $50,000.00.

QO What year was that?

A 2017, 2018, maybe.

QO Did they eliminate all training officers?
A Yes. I'm the only one that. had that position.
QO Oh, you were the only training officer in the

OT Strier?

A Yes, that was in the district, that is correct.
Q So, they eliminated your position, and then
offered you an administrative sergeant position?

A Yes.

Q And then, who took over training
responsibilities?

A That was up under me, as well. They just
eliminated the training officer's position.

Oo Okay. Well, you told me earlier that you were a

 

22e95b38-ac8d-4538-b810-5e0F1 236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 12 of 54

 

 

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Page 46

QO That year, this 2017-'18 when you took the

administrative sergeant, who did you report to?

A Bennie Bowers, initially, until it was over.
Okay?

Q Until he resigned?

A Yes.

9) And then, Dave Thomas?

A Correct.

Q And they were both directors?

A Dave Thomas was the captain, and Gerald Tatun,

they had the subtitle of captain. But if you said who
was I supposed to report to, it was Bennie Bowers. By
the paperwork, it was Bennie Bowers. After that, you
know, that's what we had of the -- as I stated before,
I was going through the grievance process and all. As
things completely changed there, I think Paul Brewer
took over that until he could get a director, who
later, you know, became Curtis Johnson. That's how it
was then.

QO The complaints about Bennie Bowers when they
started, were you in the role as administrative
sergeant?

A I was in the role of, I can't remember, training
officer or administrative sergeant, if you have that

documentation. Administrative sergeant, you are

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 13 of 54

 

 

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Page 47

correct, administrative sergeant.

QO Yes. Because the first -- in some of the
documents I show, you make a complaint that Mr. Bowers
laughed about a name plate. Do you remember that?

A Yes, sir.

Q And. that's October of 2017. And you are also
discussing PSO certification. So, would that be when
you are in the administrative sergeant position?

A I would have been -- in 2017, I believe I would
have been -- I don't know if I was a training officer.
0 Oh, okay.

A It was -- my position as a training officer --
protocol would have been, again, I think, June -- it
would have changed out in that June of that year, if
I'm not mistaken.

QO June of what year?

A I think it may have been -- if we did the school
term of June, it would have ended June of 2017, maybe,
if I'm saying it correctly, it would have been then.

Q And then, that means July 1 of 2017, you would
have become the administrative sergeant?

A That is correct.

Q So, this entry that you are reading about the
name plate, if that's in October of 2017, is that when

you are the administrative sergeant?

 

22e95b38-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 14 of 54

 

 

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Page 48

A In October of 2017, yes.

Q Okay. And I'm reading from the chronology that
you provided. And the first date is May 2017, and
your issue with Mr. Bowers, I'm just summarizing --

A Okay.

O -- was that he became increasing difficult in his
dealings with you after your Work Comp accident. Now,
May of 2017 you would have still been the trainer?

A Yes.

Q Okay. And then, after July 1 of 2017, any issues

with Mr. Bowers were in your role as administrative

sergeant?
A Yes,
O Okay. And then, we saw earlier that you

resigned, what was that, January of 2020?

A Yes.

Q Okay. So, my question is, starting in July 1 of
2017, when you became an administrative sergeant, was
that the position you remained in until your
resignation?

A Yes.

Q So, 2017-2018, 2018-'19, that school year, you
were administrative sergeant?

A ESS .

O And 2019-2020, you were an administrative

 

22e95b38-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 15 of 54

 

 

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Page 49
sergeant; correct?
A Yes.
Q And then, one semester of the '20-'21 school

year, essentially July until your resignation in
January of 2020?

A Yes.

Q No. I take that back. The '19-'20 school year
was the year you resigned; right?

A Correct. You are correct.

QO All right. So, help me flesh out, then, the
"17-'18 school year, when you become an administrative
sergeant, the facilitator positions are opened?

A Okay. The facilitator position came open, again,
as I stated, after Mr. Bowers was removed. It came
open around -- maybe June or July, it was coming up,
because as I stated, those -- the captain positions
were being RIFed.

Oo Okay. So, the facilitator positions, did you
ever have an opportunity to apply for those positions?
A Yes, sir, I applied. Prior to me applying, Mr.
Brewer had me in that role, along with Curtis Johnson.
I was the only one -- after those positions were gone,
then I would have been the next in charge, because I
was the only one in administration.

Q Okay.

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 16 of 54

 

 

Page 50
1 A so, I sat in that role for that period of time.
Z Q Until when?
3 A Until they announced on August 30th that Dave
= Thomas was the facilitator of the position.

5 Q August 30th of when?

6 A 2018-2019. Whatever is on that --

7 MR. PORTER: 2018.

8 THE WITNESS: 2018. Thank you.

a BY MR. KEES:
10 QO And at that point, there is no director, there is
11 just a facilitator?

12 A Yes.

13 Q And he reports directly to Curtis Johnson?

14 A Yes.

15 QO So, Mr. Bowers, I don't have the exact date, but
16 it was sometime in the spring of 2018 -- let me ask

17 you this. Your Complaint shows that you filed the

18 sexual harassment charge against Bennie Bowers and it
Lee was resolved in June of 2018.

20 A Yes, sir.

21 QO And when it was first resolved, he was still

22 employed there at PCSSD?
23 A Yes. What I'm saying is, they didn't resolve it
24 until then. When I made the grievance back in, I

25 believe it was April, he was still there.

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 17 of 54

 

 

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Page 51
Q Okay. So, sometime after April of 2018 and
before June of 2018, he resigned?
A Yes, sir.
QO Okay. And the facilitator position was filled by

Dave Thomas and the director was not filled?

A Yes, Sir, that's correct.

Q Okay. So, in the roughly year that you were the
administrative sergeant from, you know, July 1 of 2017
up until the summer of 2018, the facilitator
positions, was anybody sitting in those?

A No, no. The facilitator position just, like I
say, it didn't come up until those two positions were
RIFed. There was never even any talk prior to the

other positions being RIFed.

Q You are talking about the captain?

A Correct.

QO Which was Dave Thomas?

A And Gerald Tatum, yes, sir.

Q What happened -- is it Ms. Tatum, Joe or Jill?

A Gerald Tatum.

Q Gerald Tatum?

A Yes, sir.

O Where did he go after he was RIFed?

A Unbeknownst to me, all I can actually honestly

tell you is that Mr. Brewer had shared that I would be

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 18 of 54

 

 

Page 52

1 over -- I would be handling the affairs in the
Z department, I currently had the position. I didn't
3 even know that he had hired Dave Thomas or Gerald
a Tatum. I didn't know that until they appeared and
5 came to work one day. I didn't even have a clue that
6 that was even there. So, that's all I can answer you
t about that, in all honesty.
8 QO Okay. And you are talking about temporary
9 workers after they were RIFed in June 30th of 2018?
10 A Yes, yes.
11 0 So, you took over as administrative sergeant in
12 July 1 of 2017, there are no facilitators, but you
1.3 have two captains, Tatum and Thomas, and a director in
14 Mr. Bowers?
15 A Yosu
16 Q And I'm talking about July of 2017.
17 A Right, July of 2017.
18 oO Yes. And then, the two captain positions are
1§ RIFed at the end of -- in or around April or May of
20 2018; correct?
21 A You.
22 Q And you are alleging that Mr. Thomas and Mr.
23 Tatum came back as part-time employees in the summer
24 of 2OLE?

25 A Yes.

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 19 of 54

 

 

Page 53
1 QO Okay. And then, Mr. Thomas was then named as the
2 facilitator in August of 2018?
3 A Yes, I am.
4 Q And after that, did we ever hear from Mr. Tatum
5 again?
6 A Yes. Mr. Johnson placed Mr. Tatum as a security
7 officer at Daisy Bates Elementary.
8 QO Okay. Presumably with less pay, or do you know?
9 A He wasn't a part-time, he was a permanent
10 security officer.
11 Q Okay.
12 A You know, there is a difference in temporary and
1.2 permanent. He was a permanent security officer. So,
14 yes, that would have been less pay.
15 Q Okay. What is Bennie Bowers' race?
16 A He's a black male.
17 Q Black male. Okay. So, you never formally
18 applied for any position as a facilitator, captain, or
13 director?
20 A Yes, I applied for the facilitater's position,
21 yes, Sir.
22 Q Oh, you did?
23 A Yes, I said I did.
24 Q You did?
20 A Yes.

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 20 of 54

 

 

Page 54
J Q Are you referring to when Dave Thomas was given
2 the job?
3 A Yes. It was supposed to be two positions, and

4 they did not fill two positions. When I asked Mr.
5 Brewer about it, he -- his response to me was, "They
6 were going to hire two." But when I asked them -- you
7 know, I applied and all. And then, when I went back,
8 because they were not saying anything about who had
9 gotten the position after we interviewed or anything,
10 Mr. Brewer's response to me was, "Well, your arm is
Ld messed up, anyway. So, you know, you're not" -- you
12 know, I wasn't going to get it. And so, I didn't say
die anything, I just looked. But they hired only one,
14 rather than two. That announcement came in a meeting
15 with Curtis Johnson, in one of our meetings that we
16 would hold with the security officers, and he said
17 that Dave was now the facilitator. And when we asked,
La "What about the other position,” and did they say how
19 was it, you know, scaled or rated, because nobody got
20 letters stating that they, you know, did not receive
ran the position or anything, he said, well, he was just
22 announcing that Dave got the position.
23 O At that time, did the department already know
24 that there were not going to be any -- there was not

29 going to be a director or any captains?

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 21 of 54

 

 

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A Yes, yes. Yes, we knew that.

Q And so, you knew that they were restructuring to
create at least two --

A Facilitators, yes.

QO Okay. So, like pre-2017, did the district really
have an administrative sergeant, facilitator,
captains, and a director?

A You said pre-2017?

QO Right. Before -- yes.

A Okay. They had -- they had two supervisors --
they gave the name. Bear with me. They gave the name
"captains", but they had two supervisors and they had
a director, is what they had, and you had your

security officers.

QO So, it was structured differently?
A Yes.
Q Okay. After Mr. Bowers resigned in the spring

and summer of 2018, did you ever hear from him again?

A No.
Q You don't know where he is or anything about him?
A I do not.

0 Okay. And I'm going to try to pull up the date
that you filed your first EEOC charge against -- okay.
December of 2018. No, that's your second one. I've

got them here. Give me a second.

 

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 22 of 54

 

 

Page 56
1 A Okay.
Z Q I'm having to try to not go back to my computer
3 so it doesn't make that terrible noise.
4 A That's all right.
5 Q So give me a second to try to find my paper
6 documents.
7 A That's. all right.
8 (WHEREUPON, a break was taken.)
9 BY MR. KEES:
10 Q I wanted to show you, Ms. Grigsby -- and I got my

Ld. program to work now. Is this your first EEOC charge

12 which you signed on 4-3 of 2018?

13 A PSs .

14 oO Okay. And this was the one related to issues
18 with Bennie Bowers; correct?

16 A Yes.

17 O And then, this is the one that you went to

18 mediation on?

Le A Yes.

ee QO And do you remember signing a Settlement

21 Agreement?

22 A Yes, I did.

23 Q And I think you received monetary payment and
24 some days off?

25 A Yes.

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 23 of 54

 

 

Page 57

1 QO Okay. So, the Settlement Agreement, which I have
2 here, and I don't want to get into the substance, I

3S just want to look at the date.

4 A Okay.

5 O You signed it on the 19th of June?

6 A Yes.

7 Q My question was going to be, between the filing

8 of the Complaint in April and then when this was

9 Signed the 19th of June, do you remember if Mr. Bowers
10 had resigned prior to you signing the agreement?
11 A Yes, he had.
LZ Q Okay. When you made the -- when you signed your
13 charge -- when you signed your charge right here, what

14 is that date there?

LS MR. PORTER: December 2018.

16 MR. KEES: Yes,

17 MR. PORTER: December 20 of 2018.

L8 MR. KEES: Yes. I'm sorry. Let me go
19 to the -- I've got two here.

20 BY MR. KEES:

21 O The first one is the one I wanted to look at.
22 Right here, when you signed your charge on April 3rd
23 er 2018 -=

24 A Yes, sir.

a0 Q -- do you remember if he was still employed at

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 24 of 54

 

 

Page 58

1 this time, Mr. Bowers?

Z A I want to say that he was. I'm uncertain, but I
> want to say that he was.

4 Q Okay.

5 A I'm uncertain.

6 Q And then, after that date, did you have any more

7 interactions with Mr. Bowers, after this date of 4-3,
8 20187
9 A Yes, I believe I did. I think I -- bear with me.

10 As I stated, I think what transpired, I went to EEOC,
11 because, like I said, at that time Mr. Bowers was

12 Still theré. After those things transpired, I hed

i i: issues until I became the -- I mean, after

14 administrative sergeant. So, I think he -- I don't
iD remember the month that he left, is what I'm uncertain
16 about.

1,7 QO All right. We will nail that down.

18 A Okay.

19 Q My main question was, when you had resolved that
20 BEOC charge in the summer of 2018, he had resigned?
21 A Oh, yes, he had resigned then, yes.

22 Q All right. And then, let's pull up your second
23 charge, which I'm giving to you on the screen right
24 now. And it's the charge that you are suing under,

20 and it's dated -- do you see the date there? I will

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 25 of 54

 

 

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Page 59
highlight it for you.
A Okay.
QO It's dated right here, 12-20, 2018.
A I din’ see it. But chkhay,
QO Right here.
A I don't see it. I see 8-30 -- 20 -- 2018, is

what I see. Oh, down at the bottom. I see it now.

Oo Digitally.

A Oh, okay. I see it now.

Q And let me just read it. I'm not going to make
it part of the record. It's in the record, so I won't
attach it. I just want to make sure, I just want to
talk about it a little bit. So, you were hired in
August 2012, and your position was administrative
sergeant at the time of this charge; correct?

A Yes.

Q And you write that you applied for a facilitator
position about May of 2018; correct?

A Yes.

OQ And that's -- and again, as we discussed earlier,
in or about May of 2018 you were under the impression

that there would be two facilitator positions filled?

A Yes,
0 And at that time, my understanding, in talking
with you, that position -- those positions were open?

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 26 of 54

 

 

Page 60
1 A Yes.

2 0 Okay. And there were two captains that we have

2 discussed, Mr. Thomas and the other gentleman?

4 A Yes.

5 Oo Okay. And you write here, "I learned on August

6 13th a less qualified male was selected and one of the
7 two positions was not filled."

8 A Yes,

9 0 You wrote that; correct?

10 A Yes.

11 QO And again, you are referring to --

12 MR. KEES: Did you say something,

13 BUSCH? I'm sorry.

14 MR. PORTER: No, I'm sorry. I coughed.

Lo BY MR. KEES:

16 Q You are referring to Dave Thomas as the less
at qualified male; correct?

18 A Yes.

19 Q Now, I will come back to that. But let me finish

20 up this narrative. "I filed a sexual harassment

ZL charge against my former supervisor that was resolved
Le in June of 2018." You are referring to your charge
2.5 against Bennie Bowers; correct?

24 A Yes.

25 QO And you write, "My new supervisor mocked my

 

 

22¢95b38-ac8d-4538-b810-5e0f1236d0ce
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 27 of 54

 

 

Page 63

1 fault.

2 A Okay.

3 QO Now, prior to him becoming your supervisor as the
4 facilitator, had he supervised you in his capacity as
5 captain when you were administrative sergeant?

6 A No, he did not. The director was over me. I did
¢ not, on the job -- on my job duty, the job

8 description, it was that I answered to -- my

9 supervisor was the director.

10 Q Prior to Mr. Bowers resigning, had the district
dhol: ever put in place a mechanism where you were not to

12 report to Mr. Bowers?

13 A No. If so, it was -- I'm going to say "no". No,
14 it was not.

LS Q And I'm asking, also, informally, meaning any

16 times that you met with Doctor Warren or Paul Brewer
17 regarding issues with Bennie Bowers, did they

18 immediately put in some type of procedure where you

19 were not to have to report to him?

20 A And I can answer that for you. My answer to that

21 is, that's why I went forward with the EROC. Mr.
22 Brewer told me, until it was investigated, until he
23 determined what was or what was not, I did have to
24 still work up under Mr. Bowers, and if I wanted my

25 position, I would have to report to my office along

 

22¢95b38-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 28 of 54

 

 

Page 64

1 with Mr. Bowers.
2 Q Okay. And that was when you made your grievance
3 in March with the district in '18?
4 A Yes, sir.
5 Q And then, you filed your EEOC charge in April 3rd
6 ef 20167 FLO?
7 A Yes, sir.
8 Q Okay. So, prior to Mr. Bowers resigning, nothing
7 ever formal in the way of a document was given to you
10 regarding changing of reporting or changing of your
11 direct report?
12 A No, Sit:
13 Q Okay. What building did you serve in as
14 administrative sergeant?
15 A In the warehouse building -- in the security
16 office building, actually.
17 QO Is that where Bennie Bowers' office was located?
18 A Yes.
19 0 And when it was announced -- I believe you
20 testified to this earlier, I just want to make sure I
ZL understand. When it was announced in a department
22 meeting that Dave Thomas had been given the
23 facilitator's position by Curtis Johnson, i.e., Curtis
24 Johnson made the announcement, that's the first time

oo) you had heard of it?

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 29 of 54

 

 

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Page 66

it was always stated in the meetings that the reason
why Bennie Bowers had the position was because of Dave

Thomas putting in a word for him for Derek Scott to

hire him.
Q Okay.
A And so, that was, you know, in our forthcoming

meeting with the supervisors and all. So, it was kind
of like you knew where you treaded in meetings. If
something was brought up and if you go against what
Dave said, Bennie Bowers was going to get you. If you
go against Bennie Bowers, then, you know, Dave Thomas,
you are going to have some issues with that.

O Okay. And so, Dave Thomas becomes your
supervisor in August of 2018. And you work in that
role underneath him until you resign in January of
"20?

A Yes.

QO Okay. And ultimately, what was the reason for
your resignation in January of '20? I know we read
your resignation letter, but I want to know everything
that played into you resigning January of '20.

A It was due to the last injury that I had, I could
not -- they could not hold my position any longer due
to the parent injuring my arm at Sylvan Hills on that

March 8th or 9th date.

 

22e95b38-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 30 of 54

 

 

Page 67
1 QO March 8th of 9th, '19; right?
2 A Yes, yes.
a Q So, that re-injury on March -- let me get the
& exact date. March of 2019 when you were re-injured,
D did you have another surgery?
6 A No.
7 O You did have a surgery the first time, did you
8 not?
9 A Yes, I did.
i QO Okay.
11 A Yes. I didn't have a second surgery. I had
12 injections after that.
13 Q Okay.
14 A I had the surgery -- I only had one surgery.
Li (WHEREUPON, there was a telephone
16 interruption. )
17 THE WITNESS: I'm sorry.
18 BY MR. KEES:
19 O No, you are fine. Now, this isn't relevant, I'm
20 just curious. Did the Workers Comp ever raise the
21 issue of the assault of a classified employee being
22 paid for a year? Do you know anything about that?
23 A Ede mot.
24 QO Because you were assaulted by a parent of a
fa student?

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 31 of 54

 

 

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Page 68

A Yes. I was assaulted by -- I will be forthcoming
telling you I was assaulted by a parent at Sylvan
Hills Middle. On that particular morning, prior to
that, Doctor Warren -- they had a problem at Sylvan
Hills Middle with kids being bullied. And again, as I
told you, I had done all the seminars and trainings,
that's with the students and with principals and
teachers. So, Doctor Warren had specifically asked
for me to go over to Sylvan Hills and spend some weeks
over there until I finished getting these seventh,
eighth, and ninth graders all in in doing a seminar
training on bullying. On this particular morning, a
parent came in, very abruptly, cussing, and ran
through the back of the office where he was not
supposed to be, saying what he was going to do, using
explicit words, to fight the principal. I said, "Sir,
you can't do this." And as a result of that, he took

me and threw me over his back and re-injured the same

arm.
Q He threw you over his back?
A Yes. He threw me over to get to the principal,

if you follow what I'm saying.

QO Right.
A And as a result, you know, by the time I came
around, I had hit the wall -- you know, hit the floor

 

22e95b038-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 32 of 54

 

 

Page 69

1 and the wall. And after I got up and all, and, you

2 know, again, the principal had ran to his office. As
3 a result of all of that, I think the parent was

4 arrested. But after that, I never knew anything else
5 about it after that. Okay?

6 Q Okay. So, did you have ongoing issues that --

7 health impairment issues after March of '19 until your

8 resignation?
9 A Yes. And still do to this day, yes.
10 QO So, like I can't see you, but you said you
11 couldn't raise your right arm earlier. Are you still
12 in an arm sling or something?
il A No. My arm -- CRPS, I don't know if you -- you

14 are probably not really familiar with CRPS, Complex
LS Regional Pain Syndrome. But also, others refer to it
16 as RSV. And so, what it is, is I don't have any

17 control of that. My arm swells, it gets hot, it gets
18 cold, and I don't have any limitation -- I mean, I

19 can't do anything with my arm.

20 O So, your right arm, you can't use it?
21 A Right. I cannot use my right arm.
22 QO Okay. And I think you told me that you can't

23 type because you had people typing for you?
24 3B Right.

25 Q Okay.

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 33 of 54

 

 

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Page 70

A I can't sign my name or any of that. You know,
I'm not a lefty. I'm right-handed.
Q Okay.

MR. KEES: I kind of want to take a
break, and also I wanted to clarify some
things that might help my questioning.
Austin, can I call you?

MR. PORTER: Yes.

MR. KEES: That may speed things up.
Let's take a break. I will give you a call.

MR. PORTER: You've got my cell number?

MR. KEES: I think I should.

MR. PORTER: Yes. Okay.

MR. KEES: Hold on, Austin.

(WHEREUPON, a break was taken.)

BY MR. KEES:

QO I want to focus in on the August time frame when
you were —- you and all your other colleagues were
informed that Mr. Thomas had been named the
facilitator. How many people in the department as of,

you know, August 2018 reported directly to Mr. Thomas?

A Let's see. I think maybe about 50. I'm just
guesstimating.

QO And it was just him, the buck stopped with him, I
think?

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 34 of 54

 

 

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Page 71
A Yes, yes.
Q And you have discussed in your charge some of the

issues, comments he made. He mocked your on-the-job

injury in September --

A Yes.

oO -- on different days. Tell me a little bit more
about that.

A He would make statements about my arm. Like I

put in there that he stated about he wanted to move my
desk so that he could watch me move my arm. It was
also times -- just bear with me. He would look at my
arm -- anybody could tell that it was swollen, and I
don't have any control of that. And he would say,
"Don't you really think you need to do something
about" -- "How are you going to work here with your
arm? If you are going to work for me, you are going
to have to get the job done." And, you know, I was
just, "Look" -- and then, other times, simple things
as going to take clothes or to pick up clothes, "Well,
you know, you are unable to do anything. I don't know
why you are here," and he would laugh at different
things about just statements in general, which I
didn't think they were funny at all.

QO Now, prior to that second injury in March of

2018, were you still -- like let's say the day before

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 35 of 54

 

 

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Page 72

you were re-injured, were you still limited -- did you
have work limitations? And again, I'm talking about
-- like go to the week before your re-injury, did you

have work limitations?

A Yes, sir. The thing was, my work limitations
were never -- I was told I was on light duty with
Bennie Bowers. I never received any duty limitations,

but I was always told that I was on light duty, if I'm
making sense to you. I never received paper from Dave
Thomas saying that, "Here is my duties as light duty."
My question that I asked to Mr. Thomas was with Sandra
Arnold, because, just as Mr. Bowers had stated prior
to when I got injured that Sandra -- he would give my
position to Sandra Arnold, Mr. Thomas. was basically
doing the same thing. If you say be more specific, I
would tell you that just as the instance of PSO, when
I told you he had for me to type the information, and
it didn't have to be typed. And so, I was there
trying to do that. And then, he would say, "Well, I
need you to go over and relieve the desk at central
office." And I said, "Well, isn't that what Sandra is
Supposed to be doing?" And I said, "Because she is a
security officer, you know, why are you having me go
and do that?" He said, "Well, because that's what I

need you to do." I said, "Well, in my job duties, I

 

22¢95b38-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 36 of 54

 

 

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Page 73

don't know exactly what I'm supposed to be ooing." IT
said, "You have payroll, you don't allow me to do
that. I don't know" -- and he said, "Well, if you are
going to work for me, you are going to do what I say
you do." So, J did it. I tried to.

QO And that was starting -- are we talking pre or
post your second injury?

A We are talking pre -- after my second injury, I
did not -- I was unable to return. I never returned

after my second injury.

Q Oh, you never returned after your March injury?
A No, I never returned.
Q Okay. So, you were getting -- was Workers Comp

giving you like, what is it called, temporary
disability benefits?

A No. I didn't receive anything. Workers Comp
didn't pay me anything on it, because it was that they
had to prove that it was -- that I had actually

re-injured or something. I didn't receive any income.

QO Okay.

A I was not receiving anything.

QO Okay. So, when you -- so, I didn't realize that.
You were off of work from March of '18 -- no, excuse
me, excuse me. You were off from March of '19 until

your resignation?

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 37 of 54

 

 

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Page 76
Q Oh, sure.
A -- was unfactual, not true. I can tell you, on
September 5th, it was -- again, it was about me typing

the information up that I was trying to do. I got --
I got yelled at because I said that they did not have
to be typed. And if you even see an example at State
Police to this day, it says on there that it could be
handwritten or typed. And that it is supposed to come
from the actual security officers. And, you know,
that was something that he did not like. I was the
person initially who was actually over doing that,
actually, you know, having the officers certified.

Q Okay. But you had complaints against Bowers that
were sexual in nature, but that's not the case with
Mr. Thomas?

A No, it was not sexual.

QO Okay. Was he -- he was your supervisor. Did you
have any interactions in that time period of August to

March with Curtis Johnson?

A Yes, I did have interactions, yes.
O What were the basis of those interactions?
A Well, initially -- initially, when he first got

—- when Mr. Johnson got hired on, I shared the thing
about -- because I didn't know what was going on, I

shared a thing about not being able to -- I got a

 

22e95b38-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 38 of 54

 

 

Page 77

i phone call at Sylvan Hills High School to take an

2 individual that they believed was on meth. I was

3 trying to go and drug test that individual, and I was
4 at the office, and I didn't have keys to drive the

5 company car. Out of four different vehicles, I was

6 retaliated, I was sabotaged against, because they

7 wouldn't -- I e€euldn’t do my jeb. 65, I told Mr,

8 Johnson about it, and he said, well, he had a key to

9 the SUV and all. And he said, "Well, you know,

10 reschedule it." And so, I, you know, did that. And I

al: let him know how important it is as a DR to follow up

12 when you have someone around kids doing drugs. So,
13 that was one interaction. Mr. Johnson would also say
14 about my arm, "I see your arm is swollen. What are

LS you going to do about that?" You know, and I said,

16 "Hey, I 1h palin,” IT eaid, "bub I'm teying.” There
17 were other cases in reference to, I had hired a temp
18 worker, and Mr. Johnson -- I had did a wrong thing by

19 Mr. Johnson, because I didn't know I wasn't supposed
2) to hire her because Mr. Johnson knew her outside of
Ze PCSSD. And so, I didn't know that. So, that's a

22 couple of things that happened.

ae Q Can you hear me?

24 A YSs «

20 0 The hiring -- how were you able to hire? I

 

 

22e95b38-ac8d-4538-b310-5e0f1236d0ce
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 39 of 54

 

 

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Page 78

didn't know you had the authority. What do you mean
by that?

A So, when I was telling you initially, back in
June when the positions were RIFed and I said I was
sitting in the role, Mr. Brewer told me to sit in that
role, but I wasn't getting compensated for it, gas or
the pay as two other employees, Marwin Edwards did and
Sandra Arnold did. I had to take that responsibility,
because I did have that, as hiring temps at any time.
That was with Mr. Bowers and as an administrative
sergeant initially. Okay? And so, sitting under the
administrative sergeant role, I was still able to hire
temp workers at that particular time. As the school
year was gearing up, I had to have workers, I had to
have temps for our schools. And so, we -- of course,
Kim White, we ran it in HR, ran the positions as
usual, and I sent e-mails to Mr. Brewer that he didn't
respond to. He did respond to the e-mails, but when
he had me come over to central office, he okayed, you
know, these things for me to do. So, I hired temp
workers.

Q Okay. And then, there was a particular
individual female that you hired that Mr. Johnson
opposed?

A Yes.

 

22e95b38-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 40 of 54

 

 

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Page 79
QO Who was that?
A Her name was Jacqueline Matthews. She had --
Q Go ahead, go ahead.
A I was about to say, she had applied. Her resume

and her application was great. She had the background
for what I needed. And it was not just me. What we
actually do is, you know, the system kicks out who is
qualified and who is not qualified. And so, I take
the people from there and interview them. And it was
myself and a Regina, she is over nutritional services,
that Mr. Brewer told me to utilize to help me in that
process.

QO Okay.

A And so, that's what we did.

Q And when you talk about being in the temporary,
or interim role, are you referring to the time period
-- well, you tell me. What time period are you
referring to?

A I'm referring to the time period of approximately
like June -- June to August, until they named Dave in
the; position.

) Okay. So, because Bennie Bowers resigned
sometime in the spring, but you still had the two
captain positions; right?

A Right.

 

22e95b38-ac8d-4538-b810-5e0f1236d0ce

 
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 41 of 54

 

 

Page 85
1 of our security vehicles.
2 Q Okay. So, you don't know what his set-up was --
3 A No.
4 Q -- aside from he was there on some type of paid

5 basis?

6 A That's all I knew. And I could tell you that I

7 had to clock in. On the payroll information, he never
8 clocked in.

9 Q Okay.

10 A 50, I don't know what that was.
Li Q And that was never explained to you by anyone?
12 A No, sir. No, sir.

13 Q Okay.
14 A And if you look at -- well, I mean, I even -- I
15 sent letters to Mr. Brewer, because I didn't know what
16 to do. You know, all I was trying to do was what he
17 asked me to do, and that was run the department until

18 we got the positions done and all. I never knew any

19 different.

20 QO And Mr. Brewer was not on that interview

21 committee?

22. A No, he was not.

23 QO Okay. Did you think your interview went well?

24 A Yes, I did. I thought it went well, because the

25  .questions that they asked about training and all, I

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 42 of 54

 

 

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Page 86

was the one who had done those positions. Do I feel
that I was probably marked lower, probably so. I was
the one who gave the test to the officers to even --
well, let me go back. I made the test up for the
officers to take to actually get licensed through
State Police. Okay? And so, secondly, the questions
that they asked -- basically, I remember screwing up
on one question. And that's to be totally honest with
you. Other than that, I thought I did quite well.

But I never got a score or anything. You know, that's
the only thing I heard was, on the 30th, that Dave
Thomas had the position.

Q Okay. And then, that prompted you to file the
second EEOC charge?

A Yes.

oO And then, were you contacted about the mediation

on the second EEOC charge?

A Yes, I was.
QO And did you choose not to?
A I did.

QO Why was that?

A I had -- I felt like I had been so humiliated and
just embarrassed in the shape of everything. And it
was -- I really just didn't know what to do. Because

I felt like the first time, you know, the promises

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 43 of 54

 

 

Page 87

il that were, you know, going to be -- I still had to

z deal with the same individuals, and I didn't, you

3 know, feel that any of that was changing again.

4 Q Did you get any feedback following your interview
3 from anyone?

6 A No, sir, I didn't.

7 @) Okay.

8 A And I wasn't the only one. During the meeting

9 that he announced of Mr. Thomas getting it, Gary
EO Burton was in the meeting, Lonnie Murphy, those same
11 guys that I was referencing, they asked him the same
12 thing, "Well, who made the decision and why did we not
LS get a letter," "What did we make," you know, "Who said
14 it was just one, and how did he receive it when his
15 position was RIFed?" So, Curtis ended it by saying
16 that he was the one who got the position.
Vi Q Okay. And again, you said you thought the
18 interview went well aside from one question that you

L3 didn't think you did well on?

20 A That iS correct.
a Q What was that one question?
22 A That one question referenced the avoid, deny,

ae defend. And if I remember correctly, I did not put
24 the steps in order correctly, basically.

25 QO What was the question, again?

 

 

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Page 88

A I believe it was about -- I'm assuming, I think
1t was about avoid, deny, defend. And I could be
wrong. But I think, if I can remember correctly, if
you say, you know, "What would I go back and do over,"
I would say the question that I kind of remember was
that one.
Q Yes. And I'm just not sure I'm catching that
term. Avoid?
A Yes. It's about a terroristic threat situation,
is what it was.
Q But what are you saying?

MR. PORTER: You said "avoid, deny"

what?

THE WITNESS: Avoid, deny, defend.

MR. PORTER: Avoid, deny?

THE WITNESS: Avoid, deny, defend, yes.

ADD, avoid, deny, defend.

BY ME. KEES:
QO Got it. Okay.
A Okay. And it may not have been even -- you know,
it's just what I feel like that I screwed up on. I
don't know. I never got anything about it.
QO Did they ask you any questions about your Workers
Comp injury?

A I don't recall.

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 45 of 54

 

 

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Page 92

MR. PORTER: Are you referring to the
re-injury that occurred?
BY MR. KEES:
0 Yes. The re-injury.
A Not at the time of the re-injury.
Q Ronald Bentley, who is he?
A He is one of the supervisors of the schools. He
handles the Maumelle side, if that makes sense. That
part of the river.
QO Okay.
A It was sectioned out. You had asked earlier, and

I said that we had four supervisors. He was one of

the fowr,

Q Okay. He was a supervisor. And what about Jeff
Bradford?

A Jeff Bradford was a security officer. And the

thing with that was, Jeff Bradford had sent me an
e-mail, or given me a letter, regarding that he had a
disability, that he had two service injury
disabilities, and that rather than me place him at a
junior high school that I had him at, he wanted to be
placed at an elementary school so he could not have to
do -- not have to deal with the kids as much, but
younger children. I gave that to Mr. Brewer, I gave

it to Mr. Johnson, and I gave it to Dave. He got the

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 46 of 54

 

 

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Page 93

preferences that he wanted. He got moved to an
elementary school, you know, to compensate for his
injuries.

oO So, what are you saying, though? How does that
compare to you? Help me understand the correlation.
A What I'm saying is, they did make accommodations
for him to work. They didn't give him a hard time.
He didn't mock him about his disability.

Q Oh, okay.

A But he did mock me about mine.

QO Okay. Who is Camilla Jenkins?

A Camilla Jenkins is the security officer at the
front desk. She is the one I referenced. She would
give detail about even Mr. Brewer saying that me with
my arm, you know, well, my arm is messed up, anyway,
and him saying about I wouldn't be over anyone,
supervising anyone. She, too, has been harassed,
along with others, with Mr. Thomas, I would say.

Q And when you got your re-injury, you were at
Maumelle?

A No. Iwas at Sylvan Hills Middle.

Q Okay. And what took you there as an
administrative sergeant?

A I was sharing with you that Doctor Warren asked

specifically for me to go over and do training with

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 47 of 54

 

 

Page 94

1 the seventh, eighth, and ninth graders on bullying,
2 because bullying was really, really bad. And I was
3 the one who would do the seminar training, I did it

4 With parents and their kids. So, she specifically

Bb requested me to go over and handle the situation over
6 there.

ie Q That was just something you were good at doing?
8 A Yes, sir.

9 Q Okay. Did Mr. Thomas go over?
10 A No. She asked for me. That's what I was trying

ded. to explain to you earlier. I was the one who did the

lz training. I did the seminars and speaking engagements
13 to principals, to teachers, and to students.
14 Q Okay. Is that something that the facilitator can

Le do if they had that strong suit?

16 A Yes, Sir. Yes, sir.

17 QO Okay. I mean, if you had been the facilitator,
18 could you still have gone and done that training for
19 Doctor Warren?

20 A Yes. I still could have done it, yes.

Zak QO Okay. And who is Jacqueline Matthews?

22 A Jacqueline Matthews is the lady that I stated

Zo that I had hired as a temporary worker that Mr.

24 Johnson had Sandra Arnold call and say that, you know,

25 She couldn't be hired. And I had already hired her.

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 48 of 54

 

 

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And when I asked Mr. Johnson about
didn't believe that she would be a
myself and Lonnie Murphy there.

QO Okay.

ma'

MR. KEES: Okay,

all the questions I have.

time and attention today. Okay?

THE WITNESS: Thank you. Thank you,
guys.

MR. PORTER: I have no questions. Thank
you.

MR. KEES: Thank you. Take care,
everybody. Stay safe.

(WHEREUPON, at 3:52 p.m., the taking of

the above-entitled deposition was concluded.)

---oO---

Page 95
it, he said he
good fit. It was
am. I think that's

Thank you for your

 

 

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Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 49 of 54

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Executive

Director of
Operations

 

               

Facilitator of
Security and
Safety

  

Administrative
Sergeant

Lead Security
Officer

 

 

               

  

Facilitator of
Security and
Safety

Administrative
Sergeant

 
 

Lead Security
Officer

    

Central Office

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493-2019-00506
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'v, ly it
FROM: David E. Thomas January 23, 2019
Safety and Security Facilitator

SUBJECT: Letter of Counseling

TO: Wanda Grigsby
Administrative Sergeant

On September 5, 2018, you left work early, informing Officer Arnold that you were not feeling well. On
September 14, 2018, you left work early, again informing Officer Arnold that you were not feeling well.
On September 17, 2018, at approximately 5:41am, you called Officer Arnold and asked her to let me
know that you wouldn’t be in this week and that you're under a doctor’s care. On January 15, 2019, you
left the office at approximately 10:45am and never returned to work the rest of the day. When | spoke
with you on the following day, you stated that you went to Allied Security and State Police to obtain
transfer papers for one of our officers and to Cruz to check on uniform pants. None of this was done
with prior approval from me.

Department policy is that you notify your immediate supervisor of any pending absence from work. Your
immediate supervisor is the Facilitator. You have failed to follow proper protocol in each of the above
instances.

This letter is to counsel you on your responsibility to ensure that you notify your supervisor of your
pending absence in a timely manner and to remind you that any absence of more than five (5)
consecutive days will require a physician’s statement. Any future acts of this nature could result in

disciplinary action.

You will acknowledge receipt of this letter by signing below and a copy will be maintained in your
personnel folder.

David E. Thomas
Safety and Security Facilitator

l acknowledge receipt of this letter.

Wanda Grigsby
Administrative Sergeant, Safety and Security

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PULASKI COUNTY SPECIAL SCHOOL DISTRICT ge | vs
CLASSIFIED EMPLOYEE EVALUATION FORM

Wanda Grigsby Date: we -2 7—L 9 Reason for Review: (*) Annual

Safety & Security Department Title: Administrative Sergeant O Other
Addendum Attached [+

 

 

Empfoyee Name:

 

Location/Department:

EVALUATION RATING DEFINITIONS
Unsatisfactory: Minimual or no evidence of employee performing the duties at an acceptable level. Performance is clearly inadequate. Immediate

 

corrective measures are required.
Area for Growth: Some evidence of employee performing duties at an acceptable level. Some performance is inadequate. Corrective measures may

 

be needed.

 

Satisfactory: Employee performs duties adequately and effectively. Evidence of meeting expectations.

 

Exceptional: Employee exceeds performance standards. Evidence of exceeding expectations.

 

Not Applicable: Indicator does not apply to employee's position.

 

 

 

 

 

 

Please select one rating for every indicator. An explanation for
each rating of "Area for Growth" or "Unsatisfactory" is required. Area for Not
Attach additional documentation if necessary. Unsatisfactory | Growth | Satisfactory} Exceptional Applicable

 

Quality of Work: Work is accurate, thorough, neat, and completed in [| [| [x] [| [|

a timely manner.
Remarks:

 

 

Quantity of Work: Effectively and efficiently produces work in
accordance with job description and the district, department, and [| IX]

building needs.
f -
HE Slang Ze Lorin.

LJ

 

Remarks:

 

 

 

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Job Knowledge: Demonstrates knowledge of jotkdhties 4 and their [| [ ] [
purpose. os
Remarks:

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Job Skill: Demonstrates skill in job SaerESROE F veatctis minimal [| p<] [ |
direction or supervision.

 

 

 

 

 

    

 

    

 

 

 

 

 

 

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Flexibility and Adaptability: Learns new tasks Adlsdeoments willingly. [_ [| [
Handles situations appropriately, in a timely manner, even under stress. f*
Remarks:

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Initiative, Judgement, and Decision-Making: Seeks new or additional :
assignments. Involved in solving problems and offers constructive [_] [] x es |
solutions. Uses good judgement and makes appropriate decisions.
Remarks:
Care and Operation of Equipment: Properly maintains and operates [| |_| Xx [|
equipment.
Remarks:
Safety: Follows safety guidelines. Maintains and promotes a safe [| [| XI [|
work environment.
Remarks:

 

 

 

493-2019-00506 000051
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 52 of 54

Evaluation form, page 2

000052

 

 

 

 

 

Please select one rating for every indicator. Write an explanation
for each rating of "Area for Growth " or "Unsatisfactory." Attach Area for Not
additional documentation if necessary. Unsatisfactory | Growth | Satisfactory | Exceptional Applicable

 

Compliance: Has adequate knowledge of and adheres to district, [| [| [| [|
. - aoe . . . . fs

department, and building policies and regulations, including appropriate
recordkeeping and documentation.
Remarks:

 

 

Relationships, Communication, and Professionalism: Develops and

maintains effective working relationships. Represents district and [| [ [| x [|

school board values in communication and professionalism with all
stake-holders. Appearance and attire is appropriate for the work.

 

 

 

Remarks:

Attendance: Attends work as scheduled. Complies with district, ST

department, and building processes and procedures regarding the [| [_ [ [
use of leave.

Remarks:

 

 

 

 

 

 

 

 

 

 

 

 

Punctuality: Arrives for work and work appointments on time.
Remarks:

 

 

Major Strengths and Accomplishments:

 

 

Goal(s) to Achieve During Next Evaluation Period:
Optdian, Hae the Reupodgr Spor and ateithy, t- cuttnsk 2n
SIGNATURES

Name of Evaluator (Printed): DAuUL Eu Vhama S Evaluator's Title: ALY ¥ Shawty FACIL tatoree

©
Evaluator's Signature: Deed) & MV iw Signature of Principal or Department Head:

| understand that my signature signifies | have read the evaluation. It does not indicate agreement with its content. | understand that I have the
right to respond in writing and my comments will be attached to the form in my personnel file.

 

 

 

w

 

 

 

 

Name of Employee (Printed):

Employee Signature: Date:

 

 

 

Make two copies: One for the employee and one for the supervisor/evaluator.

Send original to Human Resources to be placed in the employee's personnel file.

493-2019-00506 000052
Case 4:19-cv-00778-LPR Document 33-1 Filed 04/30/21 Page 53 of 54
000053

 

PULASKI COUNTY SPECIAL SCHOOL DISTRICT
Department of Safety and Security
David E. Thomas, Facilitator
1101 B. East Dixon Road, Little Rock, AR 72206

Date March 1, 2019

To: Curtis Johnson, Director of Operations

From: David E. Thomas, Safety and Security Facilitator

Re: Annual Employee Evaluation, Wanda Grigsby, Administrative Sergeant

[ counseled with Officer Grigsby on February 27, 2019, and, after reviewing her evaluation sheet, she stated that she
did not agree with her employee rating in three areas (Quantity of Work, Job Knowledge and Job Skill). I explained
to Officer Grigsby that those were rated as Areas of Growth because she is currently not performing those duties, in
relation to her primary job description. She contended that they should be rated as “Not Applicable” and refused to
sign the evaluation. I showed Officer Grigsby the statement above the employee signature block which reads: “I
understand that my signature signifies I have read the evaluation. It does not indicate agreement with it’s
content. I understand that I have the right to respond in writing and my comments will be attached to the

form in my personnel file.” She still refused to sign.

Attached is a copy of Officer Grigsby’s job classification; on which T based her employee ratings. The areas

highlighted are those that are currently NOT being performed.

David E. Thomas, Facilitator Attachments: | Job Classification sheet

    

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GRIGSBY, WANDA <wgrigsby2768@pcssd.org>

 

 

Reasonable Accomodation Request
1 message

 

BRADFORD, Jeffery <jbradford@pcssd.org> Sat, Aug 25, 2018 at 8:38 PM
To: wgrigsby2768@pcssd.org

Sgt. Grisby,

Due to one or more of my service connected disabilities | would like to request the following reasonable accomodation in
order to continue working: reassignment to Lawson Elementary, Baker Elementary or another elementary school within
the Pulaski Country Special School District. Thank you.

Officer Bradford

PLAINTIFF'S
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